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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 CEDRIC BISHOP,                                               :
                                            Plaintiff,        :   20 Civ. 2068 (LGS)
                            -against-                         :
                                                              :        ORDER
 DERMALOGICA, LLC,                                            :
                                            Defendant.        :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the Order dated June 12, 2020, directed Plaintiff to file default judgment

materials by June 15, 2020. ECF 10;

        WHEREAS, Plaintiff has not complied with the June 12, 2020, Order. It is hereby

        ORDERED that Plaintiff shall file default judgment materials pursuant to the Court’s

Individual Rules (Appendix A) by June 22, 2020. The Court may dismiss this action for

Plaintiff’s failure to prosecute if default judgment materials are not filed on the docket.


Dated: June 16, 2020
       New York, New York
